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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE


MARLENE OSBORNE,                                )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )          Civ. No. 16-704-GMS
                                                )
UNIVERSITY OF DELAWARE                          )
LIBRARY ADMINISTRATIVE,                         )
                                                )
                Defendant.                      )


                                        MEMORANDUM


  I.   INTRODUCTION

       Plaintiff Marlene Osborne ("Osborne") filed this action against her employer, University

of Delaware (the "University"), alleging racial discrimination in violation of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. 1 (D.I. 1, D.I. 12-1, Ex. A). Although the parties

have not yet engaged in formal discovery, the University has moved for summary judgment

pursuant to Fed. R. Civ. P. 56. (D.I. 11). The court has subject matter jurisdiction pursuant to 28

U.S.C. § 1331 and 42 U.S.C. § 2000e-5(f)(3). For the reasons stated below, the University's

motion is denied.

 II.   BACKGROUND

       Osborne, an African-American female, is a long-time employee of the University's Morris

Library (the "Library"). (D.I. 14 at 1). From 1996 to 1999, Osborne worked as an administrative

assistant in the Library's Administrative Services group. (Id. at 2). She sat in the Library's



       Osborne initiated this action pro se, but has since retained counsel.
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Reception Area, greeted visitors, answered phones, took messages, and performed other "menial

tasks." (Id.). In 1999, the University moved Osborne to the Office of Vice Provost, where she

reported to the Assistant Director of Library Collections, Craig Wilson ("Wilson"). (Id.). Osborne

considered her job duties in the Office of Vice Provost to be "more complex and sophisticated"

than her job duties in the Reception Area. (D.I. 14-1, Ex. 1if5). In addition to general secretarial

duties, Osborne was responsible for gift-processing, ordering supplies and furniture, reconciling

payments with monthly credit card statements, typing acknowledgment letters to donors,

maintaining the donor-file, maintaining payroll for student assistants, and serving as the Library

representative to the University's Salaried Staff Advisory Council. (Id.; D.I. 14-1, Ex. 2). From

1999 to 2011, Osborne consistently received high performance ratings. (D.I. 14 at 2).

        After Wilson retired in 2012, another Assistant Director, Dina Giambi ("Giambi"),

assumed his responsibilities. (Id. at 3). So, Osborne began supporting Giambi. (Id.). Osborne

and Giambi had worked for years in the same area, allowing Osborne to observe how Giambi

supervised, managed, and generally interacted with four other administrative assistants (Anne

Esdale, Angela Stringham, Joan Stock, and Sandra Lonie), all of whom are white females. (Id.).

Osborne alleges that Giambi treated her differently than these other administrative assistants. (D.I.

12-1, Ex. A). Giambi would address Osborne in a disrespectful and loud tone of voice, pound on

her desk, criticize her work unfairly, and refuse to answer her questions. (Id.).

         On September 13, 2013, Library Human Resources officials Julie Brewer ("Brewer") and

Paul Anderson ("Anderson") told Osborne that she would be "transferring" back to the Reception

Area and provided her a written job description for that position. 2 (D.I. 14-1, Ex. 1 at if 9; Id. at




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      The University did not dispute Osborne's assertion that the meeting took place on
September 13, 2013. (See D.I. 16).
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Ex. 3). Typically, a University job description has a field that identifies the "incumbent," or person

currently holding the office. (See Id. at Exs. 3 & 4). For open positions, the job description

typically identifies the incumbent as "vacant." (See Id. at Ex. 4). According to Osborne, another

administrative assistant, Ladonna Miller ("Miller"), currently occupied the position to which she

was being transferred. (D.I. 14-1, Ex. 1 at~ 9). Nevertheless, the job description Osborne was

given identified her as the incumbent, and Brewer told her "this is going to be your position" (or

similar language). (Id.; D.I. 14-1, Ex. 3). Accordingly, the transfer does not appear to have been

voluntary.

         There were no changes to Osborne's title (Administrative Assistant II) or compensation as

a result of the transfer. (D.I. 16 at 2). But there were changes to the location of her work station,

her reporting structure, and her job responsibilities did. Osborne was physically moved from a

work station in the Office of Vice Provost to a work station in the Reception Area. (D.I. 12-1, Ex.

C). In her new position, Osborne no longer reported to an Assistant Director. Instead, she reported

to an Administrative Assistant IV, who in turn reported to an Assistant Director. (D.I. 14-1, Ex. 1

~   20; D.I. 16-1). Finally, Osborne's job duties became the same job duties she performed when

she previously worked in the Reception Area from 1996 to 1999. (D.I. 14-1, Ex.     1at~9).   Osborne

was also given administrative duties typically performed by an Administrative Assistant I, such as

drafting simple memoranda and answering the phones. (Id.     at~   14). Osborne considered the move

to be a defacto demotion. (Id.   at~   9).

         The University claims that Osborne's move was part of a Library reorganization. (D.I. 12

at 9). During the meeting on September 13, 2013, neither Brewer nor Anderson mentioned

anything to Osborne about "reorganizing the Library." (D.I. 14-1, Ex. 1 at~ 11). The University

has submitted a document dated five days after the meeting with Osborne, September 18, 2013,



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that discusses a "preliminary" and "conceptual" reorganization plan. (D.I. 12-1, Ex. D). The

document itself does not indicate who authored it, who received it, the purposes for which it was

created, or how it was actually used. (Id.). The University, likewise, has made no assertions as to

any of these facts.      (Id.).   The document itself states that -''[a]ll staff will learn about the

reorganization plan ... in individual meetings today and tomorrow," which would have been

September 19th and 20th. (Id.). The document asks for "assistance in planning the details," so that

the reorganization can be implemented November 1st. (Id.). Osborne asserts that she did not have

any meetings with anyone on September 19th or 20th regarding the reorganization. (D.I. 14-1 Ex.

1at~12).


        On October 14, 2013, Brewer emailed the Library administrative team regarding

implementation of the reorganization plan. (D.I. 12-1, Ex. C). The email identifies four broad

goals: (1) "[e]nsure quality service coverage ... ," (2) "[e]nable greater unit flexibility ... through

substantial cross-training across multiple positions," (3) "[c]onsolidate support ... ," and (4)

"[d]evelop equitable distribution of work . . . that will also provide opportunities for job

enrichment."    (Id.).   The email does not mention, however, any changes to any particular

employee's reporting structure or job responsibilities. Thus, the email does not indicate how the

"reorganization" relates to or promotes the identified goals. Instead, the bulk of the email describes

in detail a process whereby the four employees identified as "Senior Secretary (L6)"-which was

a group comprised of Osborne, Miller, Vicky White ("White"), and Linda Garber ("Garber")-

would move to different work stations. 3 (Id.; D.I. 16-1). Over the course of two-and-a-half



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       It is unclear from the record why the University appears to have two parallel title systems,
one employing the term "Administrative Assistant" with the number I, II, or IV appended to the
end, and another employing several derivatives of the title "secretary" with the number LS, L6, or
LS appended to the end. Thus, Osborne has two titles: Administrative Assistant II and Senior
Secretary (L6).
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months, the four affected employees would each move several times to various work stations, until

coming to rest at their final spot. There is no explanation for why the moves were implemented in

this manner, instead of all at once. In the end, Miller, White, and Garber, all of whom are white,

were moved from the Reception Area to the Office of Vice Provost, while Osborne was moved

from the Office of Vice Provost to the Reception Area. (D.I. 14-1, Ex. 1 at~~ 14-19). Osborne

now sat next to Carmen Smith, a Secretary (L5), and the only other African-American

administrative assistant in the Library Administrative Services group. (Id.    at~ 21 ).   Accordingly,

the African-American administrative assistants in the Reception Area are separated from the white

administrative assistants in the Office of the Vice Provost. (D.I. 14-1, Ex. 1 at~~ 18, 21).

       Before the reorganization, the three other affected employees (White, Garber, and Miller)

never had any experience supporting Librarians, unlike Osborne, who supported Librarians from

1999 to 2013. (Id. at ~ 19). In addition, Osborne started working for the Library Services group

before the three other employees. White began working in the Reception Area as an administrative

assistant in 2007. (Id.   at~   15). She took Osborne's former workstation in the Office of Vice

Provost and was later promoted, in 2017, to a professional, non-exempt administrative position.

(Id.). Garber began working in the Reception Area on a part-time basis in 2011 and was later

promoted, in 2017, to an Administrative Assistant IV. (Id.     at~   18). Miller began working in the

Reception Area in 1999. (Id.     at~   14). As part of the reorganization, Miller was given Osborne's

former job responsibilities in the Office of Vice Provost. (D.I. 12-1, Ex. A (stating that "Miller

was given my former job duties"). Miller was also given a position formerly held by Darlene

Moore ("Moore"), an Administrative Assistant II that retired in July 2012. (D.I. 12 at 3-4).

       Moore's position was partially-funded from a grant that required the University to replace

her with someone who had been specifically trained to perform the services specified under the


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grant. (Id.). Osborne did not have that training, but Miller did. (Id.). Miller had the training,

because sometime before Moore retired, the University selected Miller to receive the training from

Moore. (Id.). It is not clear from the record how Miller was selected to receive this training or

whether the opportunity to be selected for the training was open to anyone other than Miller.

Osborne's EEOC charge, which serves as the complaint in this case, suggests that the selection

process was not open or transparent. Osborne alleges that she was "never even considered for the

position,'' even though she had experience supporting Librarians and more seniority. (D.I. 12-1,

Ex. A).

          Finally, Brewer's October 14th email described cross-training and opportunities for job

enrichment. (Id. at Ex. C). Osborne asserts that, after the reorganization, she never underwent

any cross-training, nor was she offered this training or aware of any others engaging in this

training. (D.I. 14-1, Ex. 1 at~ 22). In addition, Osborne asserts that she has not received any

meaningful opportunities for job enrichment since the Library Reorganization unlike the other

Senior Secretaries (L6) that have since been promoted. (Id.   at~   23).

III.      STANDARD OF REVIEW

          Under Fed. R. Civ. P. 56(a), "[t]he court will grant summary judgment ifthe movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter oflaw." A genuine dispute is one that 'may reasonably be resolved in favor of either party."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). A material fact is one "that might

affect the outcome of the suit under the governing law." Id. The court reviews the record in the

light most favorable to the nonmoving party and draws all reasonable inferences in her favor.

Lomando v. United States, 667 F.3d 363, 371 (3d Cir. 2011). The moving party is entitled to

judgment as a matter of law if the nonmoving party fails to make a sufficient showing on an


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essential element of her case for which she has the burden of proof. Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986).

IV.     DISCUSSION

        Osborne alleges that the University unlawfully discriminated against her by: (i) failing to

promote her to the administrative assistant position in the Office of Vice Provost formerly held by

Moore, and (ii) demoting her to an administrative assistant position in the Reception Area. 4 (D.I.

12-1, Ex. A). A plaintiff may prove discrimination with direct evidence, as set forth in Price

Waterhouse v. Hopkins, 490 U.S. 228, 244-46 (1989), or with indirect evidence through the

burden-shifting framework, as set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792

(1973). Tolliver v. Trinity Parish Found., 2017 WL 3288119, at *7 (D. Del. Aug. 2, 2017). Here,

Osborne relies on the McDonnell Douglas burden-shifting framework. (D.I. 14 at 9). Under that

framework, Osborne must first establish a prima facie case of discrimination. Makky v. Chertoff,

541 F .3d 205, 214 (3d Cir. 2008). If a plaintiff succeeds in establishing her prima facie case, then

the burden shifts to the defendant employer to proffer a "legitimate non-discriminatory" reason for

its actions. Schurr v. Resorts Int'! Hotel, Inc., 196 F.3d 486, 497 n.11 (3d Cir. 1999). If the

employer meets this burden, then the burden shifts back to the plaintiff to demonstrate, by a

preponderance of the evidence, that the employer's reason is pretextual. Id. The court will now

apply that framework to the facts of this case.

        A. Prima Facie Case

        To establish a prima facie case, Osborne must show that: (1) she is a member of a protected

class; (2) she was qualified for the position; (3) she suffered an adverse employment action; and




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       In briefing, Osborne conceded her hostile work environment claim and retaliation claim,
leaving only her discrimination claim at issue. (D.I. 14 at 1).
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(4) the action occurred under circumstances that give nse to an inference of unlawful

discrimination. Makky, 541 F.3d at 214. The University argues that: (i) Osborne did not suffer an

adverse employment action, (ii) even if she did suffer an adverse employment action, she was not

qualified for the position, and (iii) and even if she was qualified for the position, she cannot show

that the adverse employment action gives rise to an inference of unlawful discrimination. (See

D.I. 12 at 8-9). Thus, the University challenges every element of a prima facie case except the

first: Osborne is a member of a protected class. While considering each of the University's

arguments, the court is cognizant of the Third Circuit's guiding principle that "there is a low bar

for establishing a prima facie case of employment discrimination." Scheidemantle v. Slippery

Rock Univ. State Sys. of Higher Educ., 470 F.3d 535, 539 (3d Cir. 2006). The court will address

the University's arguments in turn.

       "Termination, failure to promote, and failure to hire all constitute adverse employment

actions." Barnes v. Nationwide Mut. Ins. Co., 598 F. App'x 86, 90 (3d Cir. 2015). "Similarly,

actions that reduce opportunities for promotion or professional growth can constitute adverse

employment actions." Id.       "[R]eassignment with significantly different responsibilities, or a

decision causing a significant change in benefits" can also constitute adverse employment actions.

Tucker v. Merck & Co., Inc., 131 F. App'x 852, 855 (3d Cir. 2005) (quoting Burlington Indus.,

Inc. v. Ellerth, 524 U.S. 742, 761-62 (1998)). But "lateral transfers and changes of title or reporting

relationships have generally been held not to constitute adverse employment actions." Barnes,

598 F. App'x at 90.

       The University emphasizes the fact that Osborne's title (Administrative Assistant II) and

compensation did not change after she was reassigned to the Reception Area, suggesting that the

reassignment was a lateral transfer.       But Osborne contends that the reassignment was a


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"demotion," and supports her contention by pointing to the fact that she now reports to someone

lower in the organizational chart, has less sophisticated responsibilities, and sometimes performs

duties typically reserved for an Administrative Assistant I. In addition, Osborne has pointed to

evidence tending to show that she experienced reduced opportunities for promotion when she was

not given the opportunity to be considered for selection to receive the training for Moore's position.

Accordingly, Osborne has sufficiently established disputes of material fact as to whether she

experienced adverse employment actions with respect to her reassignment and the failure to be

considered for a promotion.

       Osborne contends that she received consistently high performance ratings from 1999 to

2011. (D.I. 14 at 2). As the University admits, Osborne's performance review around the time of

the reorganization was "generally positive" and contained "numerous positive comments." (D.I.

12 at 5-6). Any negative comments in the review were "fairly muted." (Id.). The University

claims that Osborne was not qualified to fill Moore's former position, because she lacked the

necessary training. But the Third Circuit has recognized that, "when an employer discriminatorily

denies training and support, the employer may not then disfavor the plaintiff because her

performance is affected by the lack of opportunity." Ezold v. Wolf, Block, Schorr & Solis-Cohen,

983 F.2d 509, 540 (3rd. Cir. 1992). Accordingly, Osborne has established that she was qualified

for her former position (since filled by Miller) and she has established a dispute of material fact as

to whether she was qualified for Moore's former position.

       Finally, "any time a person outside the protected class is promoted over a qualified member

of the protected class, they have satisfied the fourth element in establishing a prima facie case."

Kimble v. Morgan Prop., 241 F. App'x 895, 898 (3d Cir. 2007); Johnson v. Keebler-Sunshine

Biscuits, Inc., 214 F. App'x 239, 242 (3d Cir. 2007) ("While this Court no longer requires a


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plaintiff to show that he was replaced by someone outside of the protected class to establish an

inference of discrimination, we find that this evidence establishes the fourth and final element of

a prima facie case in this case." (citation omitted)). Osborne contends that Miller, a white female,

was given Osborne's former job responsibilities in the Office of Vice Provost. (D.I. 12-1, Ex. A).

In addition, Miller, who is outside the protected class, was given training which led to a promotion

while Osborne was not even given the opportunity to apply for the training. Under Third Circuit

precedent, this is sufficient to satisfy the fourth element of a prima facie case. Kimble v, 241 F.

App'x at 898. Accordingly, the University has not shown that Osborne cannot establish a prima

facie case.

        B. Pretext

        Assuming the Library reorganization is a legitimate, non-discriminatory reason for the

adverse-employment actions Osborne experienced, then the burden shifts back to Osborne to

demonstrate, by a preponderance of the evidence, that the University's reason is pretextual.

Schurr, 196 F.3d at 497 n.11. "At summary judgment, the plaintiff bears the burden of production

but not persuasion." Andes v. New Jersey City Univ., 419 F. App'x 230, 233 (3d Cir. 2011). "In

other words, at this stage, the 'real' reason for the employer's action is unimportant; it matters only

that there is evidence to suggest that there is a 'real' reason which is not the articulated reason."

Id. To do this, a plaintiff must "demonstrate such weaknesses, implausibilities, inconsistencies,

incoherencies; or contradictions in the employer's proffered legitimate reasons for its action that a

reasonable factfinder could rationally find them unworthy of credence, and hence infer that the

employer did not act" with legitimate, non-discriminatory motivations. Fuentes v. Perskie, 32

F.3d 759, 765 (3d Cir. 1994).




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       Osborne has pointed to sufficient implausibilities and inconsistences regarding the

reorganization to meet the burden of production on summary judgment. As noted above, when

Brewer and Anderson told Osborne she was being transferred they did nothing to indicate that it

was part of reorganization plan. (D.I. 14-1, Ex. I     at~   11). The first document evidencing a

reorganization plan was dated five days after Brewer and Anderson's meeting with Osborne and

states that the plan was still "preliminary" and "conceptual." (D.I. 12-1, Ex. D). Accordingly, the

only definitive plan at that time was that Miller was the "incumbent" for a position in the Reception

Area. (D.I. 14-1, Ex. 3). The University's only two documents regarding the reorganization (the

September 18th document and Brewer's October 14th email) indicate that the reorganization plan

involved nothing more than physically relocating the Senior Secretaries (L6) so that the white

Senior Secretaries (L6) were moved into the Office of Vice Provost with the Librarians and the

African-American Senior Secretary (L6) was moved out to the Reception Area. Finally, after the

reorganization, Osborne did not receive any cross-training, a stated goal of the reorganization. She

also did not experience the same "opportunities for job emichment"-another stated goal of the

reorganization-as the other Senior Secretaries (L6) who have since been promoted. Accordingly,

a reasonable factfinder could rationally find that the University's reasons were pretextual.

 V.    CONCLUSION

       For the foregoing reasons, the University's motion for summary judgment is denied

without prejudice to being renewed after the parties have engaged in formal discovery. (D.I. 11).

An appropriate order will be entered.



Dated: March   °t ,2018


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